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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA


                                                             CASE NUMBER:

    MICHAEL LAVIGNE , et al.                                 2:18−cv−07480−DDP (MRWx)

                                            PLAINTIFF(S),
                                                             NOTICE OF RECEIPT OF CASE TRANSFERRED IN
           v.
                                                             FORMERLY CASE NUMBER:
                                                              1:17−cv−23429−MGC
    HERBALIFE LTD AMY HENDRICKS, et al.
                         DEFENDANT(S) RESPONDENT(S).         FROM:
                                                              U.S. District Court Southern District of Florida
                                                             (Miami)


    TO:           CLERK, U.S. DISTRICT COURT,
    AND TO:       ALL COUNSEL OF RECORD

    The above-referenced case has been transferred to this district and assigned the above civil case number. The
    initials after the number indicate the case is assigned to Judge Dean D. Pregerson . The Initials are part of the
    case number and should be included on all correspondence and documents filed with this court.

    Please make sure that you are familiar and in compliance with the Local Rules of this District Court. Enclosed
    is our form G-64, Application of Non-Resident Attorney, which must be completed and returned as soon as
    possible in order that you be allowed to participate in this action. Effective November 1, 2011, the fee for this
    application is $325.00 per non-resident attorney seeking to appear on this case. Please remit the fee by business
    check or money order payable to “Clerk, U.S. District Court” when submitting your application.

    Local Rule 83-2.4 requires that any attorney who has been authorized to appear in a case in this Court, and who
    changes his or her name, office address (or residence address if no office is maintained), law firm association,
    telephone number, facsimile number or e-mail address, shall, within five (5) days of change, notify the Clerk of
    Court. If any actions are currently pending, the attorney shall file and serve a copy of the notice upon all
    opposing parties.

    Please be advised that all documents filed in this District Court must be filed in original and one copy with both
    being blue-backed.

    You are further advised that it is the responsibility of counsel to familiarize themselves with and adhere to ALL
    the Local Rules of the Central District of California.

    Complete copies of our Local Rules are available on the Court’s website at www.cacd.uscourts.gov or may be
    purchased from the LOS ANGELES DAILY JOURNAL, 915 E. First Street, Los Angeles, CA 90012, (213)
    229-5300, or from the METROPOLITAN NEWS, 210 S. Spring Street, Los Angeles, CA 90012, (213)
    628-4384. Please contact them directly as to their charge for this service.


                                                            Clerk, U.S. District Court

    August 28, 2018                                         By /s/ Luz Hernandez
    Date                                                      Deputy Clerk




    CV−32 (08/13)           − NOTICE OF RECEIPT OF CASE TRANSFERRED IN −
